Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19 17:14:07 Main Document Page 1 of 21




                                IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE EASTERN DISTRICT OF LOUSIANA



                                                                                      )        Case No. 19-13253
    In re                                                                             )
                                                                                      )
    Offshore Marine Contractors, Inc.,                                                )         Chapter     11
                                                                                      )
                                                                                      )
                                     Debtor.                                          )         Section B
                                                                                      )
                                                                                      )

                                                        CERTIFICA                  OF'SERVICE

            I hereby certify that acopy of the following pleadings:

            Motion to Approve Compensation and Payments to Insiders;

            Motionfor Order Authorizing (l) Continued          (Jse of Existing Business Forms and Records
            and (II)        Maintenance of Existing Corporate BankAccounts and Cash Management System,'

            Order Granting Complex Chapter I1 Banltuptcy Case Treatment;

            Ex Parte Motion to Fix Last Dqte to File Proofs of Claims and Interests;

            Motion to Reject 2014 Glencor Charter Pursuant to I I U.S.C. S 365,'

            Motion to Assume Executory Contracts Pursuant to                                    1l U.S.C. $ 3ó5;

            Ex Parte Motionfor Special Setting;

            Motion þr Interim & Final Orders Authorizing and Approving Post-Petition Secured
            Financing and Authority to Use Cash Collateral;

            Motionfor Interim and Final Orders Pursuant to Section 366 of the Bønkruptcy Code (I)
            Prohibiting Utitity Companies from Altering, Refusing,, or Discontinuing Utility Services,
            (II) Deeming Utitity Companies Adequately Assured of Future Performance, and (III)
            E s t abl   i   shing   P r o c e dur   e   s   for   D et e r mining A de quat e P r ot e cti on ;


            Motionfor Authority to Pay Pre-PetitionWages qnd Other Employee Benefits; and

            Requestfor Emergency Considerøtion of Certain "First Day" Matters
Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19 17:14:07 Main Document Page 2 of 21




           were served on December 5, 2019 on the following parties in the following manner:

           1.   Those parties who have consented to service throughthe Court's Electronic Case Filing
                System were served through that system, as indicated on the Notice of Electronic Case
                Filing attached hereto as Exhibit "A."

           2.   The parties listed below via electronic mail at the email addresses provided:

                 Jan Marie Hayden                         havden@bakerdonel son.com
                                                          i


                 Benjamin West Janke                     bj anke@bakerdonelson. com
                 Philip Kilpatrick Jones, Jr.            pkjones@liskow.com
                 Dena L. Olivier                         dlolivier@liskow.com
                 Richard Aguilar                         raguilar@mc glinche)'. com
                 Ben Kadden                              bkadden@lawla.com
                 Chuck Glenn                             chuckg10l8@msn.com
                 Henry King                              hking@kingkrebs.com
                 John Cangelosi                          j cangelosi@kingkrebs. com

                 Timotþ Madden                           tmadden@kin gkrebs. com
                 Mike O'Connor                           moconnor@mississippiriverbank.com
                 Bob Schleizer                           bschleizerlôb I ackbri arad vi sors. com
                 Martin Bohman                           martin@bohmanmorse. com


                                                                                ooB",
           3.   Those parties listed on the mailing matrix attached as Exhibit        who do not receive
                electronic service, were served via United States mail, postage  pre-paid and addressed.


           Baton Rouge, Louisiana, this 5th day of December 2019.

                                                  Respectfully Submitted,

                                                   SrnwaRr RonnrNs BnowN & Alr¡,2¡,N' LLC
                                                   301 Main Street, Suite 1640
                                                   P. O. Box 2348
                                                   Baton Rouge, LA 70821-2348
                                                   (225)231-9998 Phone
                                                   (225) 709-9467 Fax

                                            By     /s/ Paul Douslas             .Tr.

                                                   Paul Douglas Stewart, Jr.
                                                   d stewartlâ stewartrobb ins. com



                                                   Proposed Counsel    for Offshore Marine
                                                   Contractors, Inc.
Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19 17:14:07 Main Document Page 3 of 21



                                                 6¿Att
                                      EXHIB IT
        Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19
12t5t2019                                             LAEB Live 17:14:07
                                                                System   Main Document Page 4 of 21
File a Motion:
19-13253 Offshore Marine Corìtractors, hrc.
Type: bk                        ChaPter: 11 v                                Offrce: 2 (New Orleans)
Assets: y                               Judge: MSG                           Case Flag: PlnDue, DsclsDue

                                                                                     U,S. Bankruptcy Court

                                                                                 Eastern District of Louisiana

Notice of Electronic Filing

The following transaction was received from Paul Douglas Stewart entered on 121512019 at I 1:20            AM CST   and filed   o¡   1215/2019
Case Name:           Offshore Marine Contractors, Inc.
Case Number:         19-13251
Document Number: 12

Docket Text:
                                                                                                                                            Marine Contractors, Inc'
Motion to pay Compensøtion and payments to Insiders Filed by Paul Douglas Stewart Jr. of Stewart Robbins & Brown, LLC on behalf of Offshore
(Stewart, Paul)

The following docurnent(s) are âssociated with this transaction:

Document description:Main Document
Original filename:FDM - Insider Payment Motion.pdf
Electronic document Stâmp:
ISTAMP bkecfstamp-lD=g88663450 lDate:l2l 5 l20l9l [FileNumber:1 1760538-0
I [49aec5c59a4d2ddflb20fa9378a2ef3ld07ebd0l5fa3ca45a7345îac3407c1b4601
 1   adgb3dfcd   I 3 5b026008a5bd893   fû   627 2b9bdb07 a53 fl7b0b6ff2e3 bb6b3 fl   l

 19-13253 Notice      will be electronically mâiled to:

Brandon A. Brown on behalf of Debtor Offshore Marine Contractors' Inc.
bbrown@stewartrobbins. com,
t tt.*¿ò'rt.*urt obbins.com;jdelage@stewartrobbins.com;bbrown@ecf.courtdrive.com;kheard@ecf.courtdrive.com;aleblanc@ecf'courtdrive.com

Jan Marie Hayden on behalf of Creditor Caterpillar Financial Services Corporation
jhayden@bakerdonelson.com, gmitchell@bakerdonelson. com

 Benjamin west Janke on behalf of creditor caterpillar Financial services corporation
  anke@bakerdonelson.com, kmiller@bakerdonelson.com
 bj


 Paul Douglas Stewart, Jr. on behalf of Debtor Offshore Marine Contractors, Inc'
 dstewart@stewartrobbins.com,


 Offrce of the U.S. Trustee
 USTPRegion05.NR.ECF@usdoj. gov

 19-13253 Notice      will not be electronically mâiled to:




                                                                                 454                                                                               1t1
 https://ecf .laeb. uscourts. gov/cg¡-bin/D¡spatch.pl?336882993            551
        Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19
121512019                                             LAEB Live 17:14:07
                                                                System   Main Document Page 5 of 21
File a Motion:
19-13253 Offshore Marine Contractors, Inc,
Type: bk                       ChaPter: 11 v                         Offrce: 2 (New Orleans)
Assets: y                             Judge: JAB                     Case Flag: PlnDue, DsclsDue

                                                                            U.S. Bankruptcy Court

                                                                          Eastern District of Louisiana

Notice of Electronic Filing

The following transaction was received from Paul Douglas Stewart entered on 121512019 at I I :36 AM CST and filed on 1215/2019
Case     Name:       Offshore Marine Contractors, Inc.
Case     Number:     19-13251
Document Number:       !l
Dockei Text:

Filed by paul Dougias Stewart Jr. of Stewart Robbins & Brown, LLC on behalf of Offshore Marine Contractors, Inc. (Stewart, Paul)

The following docurnent(s) are associated with this transaction:

Document description :Main Document
Original filename:FDM - Cash Management Motion.pdf
Electronic document StâmP:
ISTAMP bkecfstamp_ID=g88663450 lDa:re=l2l 5/20191 [FileNumber:1 I 760590-0
j p+oaol     øol+08a66e0955f90f03cb5 8fc69f95773faf4b87080c4795a'l9600f394d0
 1b629 503 ab9b4a59 57 6d0f7 fc529cc I ad4655dc8ebd3 86c74adeac9ad   1   b07ll

19-13253 Notice    will be electronically mailed to:

Brandon A. Brown on behalf of Debtor Offshore Marine Contractors, Inc.
bbrown@stewartrobbins. com,
kheard@stewartrobbins.com;jdelage@stewartrobbins.com;bbrown@ecf.courtdrive.com;kheard@ecf.courtdrive.com;aleblanc@ecf.courtdrive.com

Jan Marie Hayden on behalf of Creditor Caterpillar Financial Services Corporation
jhayden@bakerdonelson. com, gmitchell@bakerdonelson.com

 Benjamin west Janke on behalfofcreditor caterpillar Financial Services corporation
 bj   anke@bakerdonelson.com, kmiller@bakerdonelson'com

 Paul Douglas Stewart, Jr. on behalf of Debtor Offshore Marine Contractors, lnc
 dstewart@stewartrobbins.com,


 Office of the U.S. Trustee
 USTPRegion05.NR.ECF@usdoj. gov

 19-13253 Notice    will not   be electronically mailed to:




                                                                                                                                       1t1
 https://ecf .laeb. uscourts. gov/cgi-bin/Dispatch. pl?41 904953867 1 839
  Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19 17:14:07 Main Document Page 6 of 21


Kim Heard

From:                                noreply@cou rtd rive.co m
Sent:                                Thursday, December 5,2019 1 1:40 AM
To:                                  Kim Heard
Subject:                             (Ch 11) 19-13253 Order




Download       PDF




**'t'NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges,
download a copy of each document during this first viewing. However, if the referenced document is a transcript, the
free copy and 3O-page limit do not apply.

                                                          U.S. Bankruptcy Court


                                                       Eastern District of Louisiana

Notice of Electronic Filing

The following transaction was received from Mcllwain, A. entered on 12/5/2019 at 1"1:39 AM CST and filed on L2l5l2ot9
Case Name:              Offshore Marine Contractors, lnc.
Case Number:             \9-13253
Document Number: L6

Docket Text:
Order Granting Complex Chapter 11 Bankruptcy Case Treatment Signed on December 5, 2019 (RE: related
document(s)[9] Notice filed by Debtor Offshore Marine Contractors, lnc.) (Mcllwain, A.)

The following document(s) are associated with this transaction


Document description: Main Document
Original filename:EXPEDITE I9-t3253 lmm. pdf
Electronic document Stamp:
ISTAM P    b   kecfSta m p_l D=988663450 [Date=   12   / 5 / 2OI91   [ Fi   le N u m be   r=II7 60602-0
I l27aO1,e2b45bd8b31c4c9aL67bZecb8d 1e2cd3a86993534caef8237b109Ib878t328
b2c7dd 3093eec3 67fb2ca8a 5302accL5ccae2ee0 449a4422300164f8dd9861 l


L9-L3253 Notice will be electronically mailed to:

Brandon A. Brown on behalf of Debtor Offshore Marine Contractors, lnc.
bbrown @stewartrobbins.com,
                                                                              1
  Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19 17:14:07 Main Document Page 7 of 21

kheard@stewartrobbins.com;jdelage@stewartrobbins.com;bbrown@ecf.courtdrive.com;kheard            @ecf.courtdrive.com;aleblanc@ecf
courtdrive.com

Jan Marie Hayden on behalf of Creditor Caterpillar Financial Services Corporation
jhayden@bakerdonelson.com, gmitchell @ bakerdonelson.com

Benjamin West Janke on behalf of Creditor Caterpillar Financial Services Corporation
bjanke@bakerdonelson.com, kmiller@bakerdonelson.com

Philip Kirkpatrick Jones, Jr. on behalf of Creditor Bluehenge Capital Secured Debt SBIC,   L.P
pkjones@liskow.com, TJumonville@ liskow.com

Paul Douglas Stewart, Jr. on behalf of Debtor Offshore Marine Contractors, lnc.
dstewa rt@stewa rtrobbins.com,
jdelage@stewartrobbins.com;kheard@stewartrobbins.com;aleblanc@ecf.courtdrive.com;aleblanc@stewartrobbins.com;dstewart@
ecf.courtdrive.com;kheard@ecf.courtdrive.com;stewartdr80984@ notify.bestcase.com

Office of the U.S. Trustee
USTPRegion05.NR.ECF@usdoj.gov

19-13253 Notice will not be electronically mailed to:




                                                                    2
     Case
12t5t2019        19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19   17:14:07 Main Document Page 8 of 21
                                                         LAEB Live System

File a Motion
19-13253 Offshore Marine Contractors, Iuc.
Type:    bk                    ChaPter: 11 v                            Office: 2 (New Orleans)
Assets:   y                         Judge: JAB                          Case Flag: PlnDue, DsclsDue

                                                                             U,S. Bankruptcy Court

                                                                          Eâstern District of Louisiana

Notice of Electronic Filing

The following transaction was received from Paul Douglas Stewart entered on 121512019 at I I :45 AM CST and frled
                                                                                                                  on I 2/5/20 19
Case Name:           Offshore Marine Contractors, Inc.
CaseNumber: l9-13253
Document Numtler:18

Docket Text:
Ex parle Motion to set Last Day to File proofs of claim Filed by Paul Douglas Stewart Jr. of stewart Robbins &
                                                                                                               Brown, LLC on behalf of offshore Marine contractors,
Inc. (Stewaf, Paul)

The f'ollowing docurnerrt(s) are associated with this transaction:

Document description :Main Document
Original fîlename:MT to Set Claims Bar Date.pdf
Electronic document StâmP:
                                                                  60629 -0
ISTAMP bkecfstamp-ID:9S8663450 lDate:l2l 5 l20l9l [FileNumber-117
j   [68ca¡b8abb760c40l7'7^2d2306ca53ed8632a94e8107aa7356dbc9cb011921d2550
                           I ea8ed2d97 882e67 2dd93dc0 I ddf I   0697eßd464all
"eos¿¿f¿q"ZOOg34bce8
l9-13253 Notice will be electronically mailed to:

Brandon A. Brown on behalf of Debtor Offshore Marine Contractors, lnc'
bbrown@stewartrobbins.com,
kheard@-stewartrobbins.com;jdelage@stewartrobbins.com;bbrown@ecicourtdrive.com;kheard@ecf                 courtdrive.com;aleblanc@ecf courtdrive com


Jan Marie Hayden on behalf of Creditor Caterpillar Financial Services Corporation
jhayden@bakerdonelson.com, gmitchell@bakerdonelson.com

Benjamin west Janke on behalf of creditor cateryillar Financial services corporation
bjanke@bakerdonelson.com, kmiller@bakerdonelson'com

Philip Kirkpatrick Jones, Jr. on behalf of Creditor Bluehenge Capital Secured Debt SBIC' L.P.
pkjones@liskow.com, TJumonville@liskow.com

 Dena L. Olivier on behalf of Creditor Bluehenge Capital Secured Debt SBIC' L'P'
 dlolivier@liskow.com, tjumonville@liskow.com

 Paul Douglas Stewart, Jr. on behalf of Debtor Offshore Marine Contractors, Inc'
 dstewart@stewartrobbins.com,


    Office of the U.S. Trustee
    USTPRegionO5.NR.ECF@usdoj. gov

    l9-13253 Notice will not be electronically mailed to:




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    https :i/ecf . laeb. uscourts, gov/cgi-bin/D¡spatch'pl? 6094923322961 47
       Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19
12t5t2019                                            LAEB Live 17:14:07
                                                               System   Main Document Page 9 of 21
File a Motion
l9-13253 Offshore Marine Contractors, Itrc.
Type:   bk                           Chapter: 11 v                                Offlrce: 2 (New Orleans)
Assets:  y                           Judge: JAB                                   Case Flag: PlnDue, DsclsDue

                                                                                         U.S. Bankruptcy Court

                                                                                       Eastern District of Louisiana

Notice of Electronic Filing

The following transaction was received from Paul Douglas Stewart entered on 1215/2019 at 1249 PM CST and filed on 121512019
Case Name:           Offshore Marine Contractors, Inc'
Case Number:          19-13253
Document Number: 19

Docket Text:
                                                                                                                                                         Inc. (Stewart,
Motion to Reject Lease or Execntory Contract Filed by Paul Douglas Stewart Jr. of Stewart Robbins & Brown, LLC on behalf of Offshore Marine Contractors,
Paul)

The following docurnent(s) are associated with this transaction

Document description: Main Document
Original filename:MT Motion to Reject Glencor Contract.pdf
Electronic document Stâmp:
ISTAMP bkecfstamp-lD-988663450 lDaIe-I2l 5 l20l9l [FileNumber:l I 760863-0
I [4ß50ee480d688c518afa44c4396963a4899c332087a321f1a0bb59c3c'77e9a0446
7   20a0ec97 f45 eac86a I 88 1 e8bf93 5506b03768a   1 3   20cc0c4e7 fbi   9   d623 |   e4l)

 f 9-13253   Notice will be electronically mailed to:

Brandon A. Brown on behalf of Debtor Offshore Marine Contractors, Inc.
bbrown@stewartrobbins. com,
kheard@stewartrobbins.com;jdelage@stewartrobbins.com;bbrown@ecf.courtdrive.com;kheard@ecf.courtdrive.com;aleblanc@ecf.courtdrive'com

Jan Marie Hayden on behalf of Creditor Caterpillar Financial Services Corporation
jhayden@bakerdonelson.com, gmitchell@bakerdonelson.com

 Benjamin west Janke on behalf of creditor câteryillar Financial services corporation
 bjanke@bakerdonelson.com, kmiller@bakerdonelson.com

 Philip Kirkpatrick Jones, Jr. on behalfofCreditor Bluehenge Capital Secured Debt SBIC, L.P.
 pkjones@liskow.com, TJumonville@liskowcom

 Dena L. Olivier on behalf of Creditor Bluehenge Capital Secured Debt SBIC' L.P.
 dlolivier(l,liskow.com,tjumonville@liskow.com

 Paul Douglas Stewart, Jr. on behalf of Debtor Offshore Marine Contractors, Inc.
 dstewafi@stewânrobbins.com,


 Office of the U.S. Trustee
 USTPRegion05.NR.ECF@usdoj. gov

 19-13253 Notice     will not be electronically mailed to:

 Tina Jumonville
 Liskow & Lewis
 701 Poydraws Street, Suite 500
 New Orleans, L^70139




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 https://ecf.laeb.uscourts.gov/cgi-bin/Dispatch
      Case
12t5t2019    19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19    17:14:07 Main Document Page 10 of
                                                     LAEB Live System

File a Motion:                                     21
l9-13253 Offshore Marine Contractors, Inc.
Type: bk                           Chapter: 1l v                           Office: 2 (New Orleans)
Assets: y                          Judge: JAB                              Case Flagr PlnDue, DsclsDue

                                                                                U.S. Bankruptcy Court

                                                                             Eastern District of Louisiana

Notice of Electronic Filing

The following transaction was received from Paul Douglas Stewart entered on 1215/2019 at 12:58 PM CST and filed on 1215/2019
Case Name:           Offshore Marinc Contractors, Inc.
Case Number:         19-13253
Document Number:20

Docket Text:
Motion to Assnme Lease or Executory Contract Filed by Paul Douglas Stewaft Jr. of Stewart Robbins & Brorvn, LLC on behalf of Offshore Marine Contractors, Inc.
(Stewar1, Paul)

The f'ollowing document(s) are associated with this transaction:

Document description :Main Document
Original filename:MT to Assume BlueTide Agreement and Encore Vessel Boarding Agreements.pdf
Electronic document Stamp:
ISTAMP bkecfstamp-lD=988663450 [Date:l2l 5/2019] [FileNumber-1 1 760887-0
I [6ae5bf34fl4722befd3b7e4e3497 13l28cfd7f599'7 4e4adfd3f73a7cc2ac12d06d6
bee4d97b6099 5864f089eb75e9a 4 I fd002027 28b0c7       9 1   d6b5 5e7 3d0b9556 I   ll
19-f 3253 Notice   will be electronically mâiled to:

Brandon A. Brown on behalf of Debtor Offshore Marine Contractors, Inc.
bbrown@stewartrobbins.com,
kheard@'_stewartrobbins.com jdelage@stewartrobbins.com;bbrown@ecicourtdrive.com;kheard@ecf.courtdrive.com;aleblanc@ecf.couftdrive.com

Jan Marie Hayden on behalf of Creditor Caterpillar Financial Services Corporation
jhayden@bakerdonelson.com, gmitchell@bakerdonelson.com

Benjamin West Janke on behalfofCreditor Caterpillar Financial Services Corporation
bj   anke@bakerdonelson.com, kmiller@bakerdonelson.com

Philip Kirkpatrick Jones, Jr. on behalfofCreditor Bluehenge Capital Secured Debt SBIC' L             P.

pkjones@liskow.com, TJumonville@liskow.com

Dena L. Olivier on behalf of Creditor Bluehenge Capital Secured Debt SBIC, L.P.
dlolivier(@liskow.com, tjumonville@liskowcom

Paul Douglas Stewart, Jr. on behalf of Debtor Offshore Marine Contractors, Inc.
dstewart@stewaltrobbins. com,


Office of the U.S. Ttustee
USTPRegion05.NR.ECF@usdoj. gov

 l9-13253 Notice will not be electronically mailed to:

Tina Jumonville
Liskow & Lewis
701 Poydraws Street, Suite 500
New Orleans, LA 70139




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https://ecf laeb. uscourts.gov/cgi-bin/Dispatch
             .                                               1
      Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19
12t5t2019                                                     17:14:07 Main Document Page 11 of
                                                   LAEB Live System

File a Motion                                    21
l9-13253 Offshore Mariue Contractors, hrc.
Type: bk                                Chapter: 11 v                            Office: 2 (New Orleans)
Assets: y                               Judge: JAB                               Case Flag: PlnDue, DsclsDue

                                                                                      U.S. Bankruptcy Court

                                                                                   Eastern District of Louisiana

Notice of Electronic Filing

The following transaction was received from Paul Douglas Stewart entered on 12/5/2019 at l:08 PM CST and fil'ed on   l2l5l20l9
Case Name:           Offshorc Marine Contractors, Inc.
Case Number:         t9-13253
Document Number:21

Docket Text:
Ex parre Motion to Set Hearing (RE: related document(s)[9] Motion to Reject Lease or Executory Contract {iled by Debtor Offshore Marine Contractors, Inc., [20]
                                                                                                                                                                Motion
                                                                                                                                                             on behalf
to Assnme Lease or Executory"Contract filed by Debtoi ijffsLore Marine Cônractors, Inc.) Filed by Paul Douglas Stewart Jr. of Stewa( Robbins & Brown, LLC
of Offshore Marine Contractors, Inc. (Ster'vart, Paul)

The   following docurnent(s) are associated with this transactiolì:

Document description: Main Document
original filename:Motion for Special setting         on Assumption and Rejections Motions.pdf
Electronic document Stamp:
ISTAMP bkecfstamp-ID:g88663450 lDate:l2l                5   120191   [FileNumber:l I 760890-0
I [3d74dd358e17852e8b78f9d036c78þ77laa8c0bd6ell}bl4'764aa246ed44fe4aïa3
3   532e6fl   7   593a40a9a8 1 e5ea803 6bec526eb3d I 3ad22ae00dc33085a65f62ll

 19-13253 Notice        will be electronicâlly mailed to:

Brandon A. Brown on behalf of Debtor Offshore Marine Contractors, Inc.
bbrown@stewartrobbins.com,
kheard@--stewartrobbins.comjdelage@stewartrobbins.com;bbrown@ecicor.rrtdrive.com;kheard@ecf.courtdrive.com;aleblanc@ecf.courtdrive.com

Jan Marie Hayden on behalf of Creditor Caterpillar Financial Services Corporation
jhayden@bakerdonelson.com, gmitchell@bakerdonelson.com

 Benjamin west Janke on behalf of creditor caterpillar Financial Services corporation
 bjanke@bakerdonelson.com, kmiller@bakerdonelson.com

 Philip Kirkpatrick Jones, Jr. on behalfofCreditor Bluehenge Capital Secured Debt SBIC, L.P.
 pkjones@liskow.com, TJumonville@liskow.com

 Dena L. Olivier on behalf of Creditor Bluehenge Capital Secured Debt SBIC' L.P.
 dlolivier@liskow.com, tjumonville@liskow.com

 Paul Douglas Stewart, Jr. on behalf of Debtor Offshore Marine Contractors, Inc.
 dstewart@stewartrobbins. com,


 Ofhce of the U.S. Trustee
 USTPRegion05.NR.ECF@usdoj. gov

 l9-13253 Notice will not be electronically mailed to

 Tina Jumonville
 Liskow & Lewis
 701 Poydraws Street, Suite 500
 New Orleans, LA 70139




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 https://ecf .laeb. uscourts. gov/cgi-bin/Dispatch'pl?536333             1
     Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19
12t5t2019                                                     17:14:07 Main Document Page 12 of
                                                   LAEB Live System

File a Motion                                   21
l9-13253 Offshore Marine Contractors, hrc.
Type:   bk                            Chapter: 11 v                         Offlrce: 2 (New Orleans)
Assets:  y                            Judge: JAB                            Case Flag: PlnDue, DsclsDue,
                                                                            ComplexCase

                                                                                   U,S. Bankruptcy Court

                                                                                 Eâstern District of Louisiana

Notice of Electronic Filing

The following transaction was received from Paul Douglas Stewaft entered on 121512019 at 2:12 PM CST and fiLed on l2l5l20l9
Case Name:           Offshorc Marine Contractors. Inc.
Case Number:         l9-13253
Document Number:22

Docket Text:

Brown, LLC on behalf of Offshore Marine Contractors, Inc. (Stewart, Paul)

The following docurnent(s) are associated with this transaction:

Document description:Main Document
Original fìlename:FDM - Final DIP & CC with Exhibits.pdf
Electronic docüment Stâmp:
ISTAMP bkecfstamp_ID:g88663450 lDúe-I2l 5/2019] [FileNumber:1                     17   61021'0
I [2ad926acl0be3cd8c 1b3c808 I f5 e72447eace367 |b6069 1 68970d1 I e08a3c4582c0
d3d4fccl 8fbOe34cde49el 50033593 I l7eefg53fee6l70d86675 150bóc9a9ll

19-13253 Notice     will be electronically mailed to:

Brandon A. Brown on behalf of Debtor Offshore Marine Contractors, Ino.
bbrown@stewartrobbins. com,
kheard@stewartrobbins.comjdelage@stewartrobbins.com;bbrown@ecicourtdrive.com;kheard@ecf.courtdrive.com;aleblanc@ecf.courtdrive.com

Jan Marie Hayden on behalf of Creditor Caterpillar Financial Services Corporation
jhayden@bakerdonelson.com, gmitchell@.bakerdonelson.com

Benjamin West Janke on behalfofCreditor Caterpillar Financial Services Corporation
bjanke@bakerdonelson.com, kmiller@bakerdonelson.com

Philip Kirkpatrick Jones, Jr. on behalf of Creditor Bluehenge Capital Secured Debt SBIC, L.P
pkjones@liskow.com, TJumonville@liskow.com

Dena L. Olivier on behalf of Creditor Bluehenge Capital Secured Debt SBIC, L.P.
dlolivier(iÐ,liskow.com, tjumonville@liskow.com

Paul Douglas Stewaft, Jr. on behalf of Debtor Offshore Marine Contractors, Inc.
dstewart(@stewartrobbins.com,


Offrce of the U.S. Trustee
USTPRegion05.NR.ECF@usdoj. gov

 19-f 3253 Notice   will not   be electronically mailed to:

Tina Jumonville
 Liskow & Lewis
 701 Poydraws Street, Suite 500
New Orleans, LA 70139




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      Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19
12t5t2019                                                     17:14:07 Main Document Page 13 of
File a Motion                                    21
19-13253 Oflshore Marine Contractors, Itrc.
Type:   bk                          Chapter: 11 v                        Office: 2 (New Orleans)
Assets:  y                          Judge: JAB                           Case Flag: PlnDue, DsclsDue,
                                                                         ComplexCase

                                                                              U.S. Bankruptcy Court

                                                                           Eâstern District of Louisiana

Notice ol Electronic Filing

The following transaction was received from Paul Douglas Stewart entered on        l2l5l20l9 at2:22PM CST and filedon l2l5l20l9
Case Name:           Offshorc Marine Contractors, Inc.
Case Number:          19-13253
Document Number:23

Docket Text:
Motion for Continuation of Utility Service and Approval of Adequate Assurance of Payment to Utility Company Under Section 366(b) Filed by Paul Douglas Stewart Jr' of
Stewarl Robbins & Brown, LLC on behalf of Offshore Marine Contractors, Inc. (Stewart, Paul)

The following docurnent(s) are associated with this transaction:

Document description: Main Document
Original filename:FDM - Utilities Motion.pdf
Electronic document Stâmp:
ISTAMP bkecfstamp_lD:988663450 [Dare=l2l 5/2019] [FileNumber:1 I 76 1060-0
I |9913af4c32lbbf8db7c5906fb1 b835a4ca89ecbacfefba58 I 027d4a55d05c905ca
39 1c8c685 I I 84b62b5e07b9553 I db76e1 34890e5 4047 l2de58a5lfe85a8c8ll


l9-13253 Notice will be electronically mailed to:

Brandon A. Brown on behalf of Debtor Oflshore Marine Contractors, Inc.
bbrown@stewartrobbins.com,
kheard@stewartrobbins.com jdelage@stewaftrobbins.com;bbrown@ecf.courtdrive.com;kheard@ecf.courtdrive.com;aleblanc@ecf.courtdrive.com

Jan Marie Hayden on behalf of Creditor Caterpillar Financial Services Corporation
jhayden@bakerdonelson.com, gmitchell@bakerdonelson.com

Benjamin West Janke on behalf of Creditor Caterpillar Financial Services Corporation
bjanke@bakerdonelson.com, kmiller@bakerdonelson.com

 Philip Kirkpatrick Jones, Jr. on behalfofCreditor Bluehenge Capital Secured Debt SBIC, L.P.
pkjones@liskow.com, TJumonville@liskow.com

 Dena L. Olivier on behalf of Creditor Bluehenge Capital Secured Debt SBIC' L.P.
 dlolivier@liskow.com, tjumonville@liskow.com

 Paul Douglas Stewaft, Jr. on behallof Debtor Offshore Marine Contractors, Inc.
 dstewart@stewartrobbins.com,


 Office of the U.S. Trustee
 USTPRegionO5.NR.ECF@usdoj. gov

 f 9-13253   Notice will not be electronically mailed to:

 Tina Jumonville
 Liskow & Lewis
 701 Poydraws Street, Suite 500
 New Orleans, LA70139




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      Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19
12t5t2019                                                     17:14:07 Main Document Page 14 of
File a Motion                                    21
l9-13253 Offshore Marine Contractors, Iuc.
Type:   bk                        Chapter: 11 v                    Office: 2 (New Orleans)
Assets:  y                        Judge: JAB                       Case Flag: PlnDue, DsclsDue,
                                                                   ComplexCase

                                                                              U.S. Bankruptcy Court

                                                                       Eâstern District of Louisiana

Notice of Electronic Filing

The following transaction was received from Paul Douglas Stewart entered on 1215/2019 af 2:27 PM CST and fil'ed on 12/512019
Case Name:           Offshorc Marine Contractors, Inc.
CaseNumber: l9-13253
Document Number:26

Docket Text:
Motion to pay pre-petitio¡ Wages and Other Employee Benelìts Ftled by Paul Douglas Stewart Jr. of Stewart Robbins & Brown, LLC on behalf of Offshore Marine
Contractors, Inc. (Stewar1, Paul)

The following docurnent(s) are associated with this transaction:

Document description Maiu Document
                        :


Original filename:FDM - Employee Payroll Motion.pdf
Electronic document Stâmp:
                                                                              76 1080-0
ISTAMP bkecfstamp_lD-988663450 [Dare:l2l 512019] [FileNumber:1            1


I [24cb7d455983d8 I 1 5de I 66dccf9 d70957b2a08569 1 120c69bds57cc8e938995b584
 5b5f27e6da75b96b2e04bef9abb8 I I b765ft df798d928fae4 1 fl 586fc032 1   ll
l9-13253 Notice will be electronically mailed to:

Brandon A. Brown on behalf of Debtor Offshore Marine Contractors, Inc.
bbrown@stewartrobbins.com,
kheard@itewartrobbins.com jdelage@stewartrobbins.com;bbrown@ecf.courtdrive.com;kheard@ecf.courtdrive.com;aleblanc@.ecf.coufidrive.com

Christopher T. Caplinger on behalf of Interested Party Louis Eymard
ccaplinger@lawla.com, mlopez@.lawla.com

 Christopher T. Caplinger on behalf of Interested Party Michael Eymard
 ccaplinger@lawla.com, mlopez@lawla.com

 Christopher T. Caplinger on behalf of Interested Party Raimy Eymard
 ccaplinger@lawla.com, mlopez@lawla.com

 Jan Marie Hayden on behalf of Creditor Caterpillar Financial Services Corporation
 jhayden@bakerdonelson.com, gmitchell@bakerdonelson'com

 Benjamin west Janke on behalf of creditor caterpillar Financial Services corporation
 bjanke@.bakerdonelson.com, kmiller@bakerdonelson'com

 Philip Kirkpatrick Jones, Jr. on behalfofcreditor Bluehenge capital Secured Debt SBIC, L.P.
 pkjones@liskow.com, TJumonville@liskowcom

 Benjamin Kadden on behalf of Interested Party Louis Eymard
 bkadden@lawla.com, muguyen@lawla.com

 Benjamin Kadden on behalf of Interested Party Raimy Eymard
 bkadden@lawla.com, mnguyen@lawla.com

 Dena L. Olivier on behalf of Creditor Bluehenge Capital Secured Debt SBIC' L.P.
 dlolivier@liskow.com, tjumonville@liskowcom

 Paul Douglas Stewaft, Jr. on behalf of Debtor Offshore Marine Contractors, Inc.
 dstewart(@ stewartrobbins.com,



 Olfice of the U.S. Trustee
 USTPRegionO5.NR.ECF@usdoj. gov

 19-13253 Notice   will not be electronically mailed to

 Tina Jumonville
 Liskow & Lewis
 701 Poydraws Street, Suite 500
 New Orleaus, LA 70139




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      Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19
121512019                                                     17:14:07 Main Document Page 15 of
File a Motion:                                   21
l9-13253 Offshore Marine Contractors, hrc.
Type:   bk                           ChaPter: 11 v                        Office: 2 (New Orleans)
Assets:  y                           Judge: JAB                           Case Flag: PlnDue, DsclsDue,
                                                                          ComplexCase

                                                                                     U.S. Bankruptcy Court

                                                                             Eastern District of Louisiana

Notice of Electronic Filing

The following transaction was received from Paul Douglas Stewart entered on 1215/2019 at 2:39 PM CST and fil.ed on 12/512019
Case Name:           Offshorc Marine Contractors, Inc'
Case Number:          19-13253
Document Number:      Z
Docket Text:
Ex parte Motion to Expedite Hearing (RE: related document(s)[12] Motion to Pay filed by Debtor Offshore Marine Contractors, Inc., [14]
                                                                                                                                          Motion for Authority filed by
Debtor offshore Marine   Contracto.i   tì..,      Motion for Aìihoriiy filed by Deútor offshore Marine Contractors, Inc., Motion to Use Cash Collateral, [23] Motion for
                                             [22]
                                                                                                                                                     Inc.) Filed by Paul
Continuation of Utility Service filed by DeËtoi Offshore Marine Contractori, Inc., [26] Motion to Pay filed by Debtor Offshore Marine Contractors,
Do¡glas Stewart Jr. oi Stewart Robbins & Brown, LLC on behalf of Offshore Marine Contractors, Inc. (Stewarl, Paul)

The f'ollowing docurnent(s) are associated with this transaction:

Document description Main Document
                          :


Original filename:FDM - Request Emerg Consideration FDMs.pdf
Electronic document StâmP:
                                                                                     76 I 095-0
ISTAMP bkecfstamp-ID:g88663450 lDate:l2l 5/20191 [FileNumber:1                   1


I [8520ab409d86084186f6ac923a|64a'7a9bd405a2caeddd51937e446l0f437efd868
 c587 9 e0 57 47 ad8ced53b0bdba05 8 8a2846c5c9af9 | 7 2ad87 3 d7   265ff I a29   lll
 19-13253 Notice   will be electronically mailed to:

 Brandon A. Brown on behalf of Debtor Offshore Marine Contractors, Inc.
 bbrown@stewartrobbins. com,
                                                                                                                                               com
 kheard@_-stewartrobbins.com;jdelage@stewartrobbins.com;bbrown@ecf.courtdrive.com;kheard@ecf.courtdrive.com;aleblanc@ecf.courtdrive

 Christopher T. Caplinger on behalf of Interested Party Louis Eymard
 ccaplinger@lawla.com, mlopez@lawla.com

 Christopher T. Caplinger on behalf of Interested Party Michael Eymard
 ccaplinger@lawla.com, mlopez@lawla.com

 Christopher T. Caplinger on behalf of Interested Party Raimy Eymard
 ccaplinger@lawla.com, mlopez@lawla.com

 Jan Marie Hayden on behalf of creditor caterpillar Financial Services corporation
 jhayden@bakerdonelson.com, gmitchell@bakerdonelson.com

 Benjamin west Janke on behalf of creditor caterpillar Financial Services corporation
 bjanke@bakerdonelson.com, kmiller@bakerdonelson.com

 Philip Kirkpatrick Jones, Jr. on behalfofcreditor Bluehenge capital secured Debt SBIC, L.P.
 pkjones@liskow.com, TJumonville@liskowcom

 Benjamin Kadden on behalf of Interested Party Louis Eymard
 bkadden@lawla.com, mnguyen@lawla.com

 Benjamin Kadden on behalf of Interested Party Raimy Eymard
 bkadden@lawla.com, mnguyen@lawla.com

 Dena L. Olivier on behalf of Creditor Bluehenge Capital Secured Debt SBIC, L.P.
 dlolivier@liskow.com, tjumonville@liskow.com

 Paul Douglas Stewaft, Jr. on behalf of Debtor Offshore Marine Contractors, Inc.
 dstewart(¿rstewârtrobbins.com,


 Offrce of the U.S. Trustee
 USTPRegion05.NR.ECF@usdoj. gov

  19-13253 Notice   will not   be electronically mailed to:

 Tina Jumonville
 Liskow & Lewis
 701 Poydraws Street, Suite 500
 New Orleans, LA 70139


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      Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19    17:14:07 Main Document Page 16 of
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Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19 17:14:07 Main Document Page 17 of
                                           21


                                     EXHIBIT "B"
                                             c/o Charles Bourque Jr. & Joseph Jevic   315 Barrow St.                                   Houma                                                                 LA        70360
A&A Brokers,   LLC
                                             2615 Jefferson lsland Rd.                                                                 New lberia                                                            LA   70560-2896
Acadiana Diesel Fuel lnjection
                                             1608 W. Admiral Doyle Dr., Lot 2                                                          New lberia                                                            LA        70560
Acadiana Hydraulic Works, lnc.
                                             P.O. Box 3729                                                                              Houma                                                                LA   7036L-3729
All American Paint & SuPPIY
                                             9188 E. Main St.,                                                                          Houma                                                                LA        70363
AllAmerican Paint & SuPPIY
                                             17961 Hwy, 3235                                                                           Galliano                                                              LA        70354
AM Supply
                                             16201 East Main St.                                                                        Cut Off                                                              LA        70345




                                                                                                                          Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19 17:14:07 Main Document Page
American Recovery
                                             US Department of Justice                 950 Pennsylvania Avenue, NW                      Washington                                                            DC        20s30
Attorney General of the United States
                                             Department of Justice                    1-0th & Constitution Ave., NW                     Washington                                                           DC        20530
Attorney General ofthe     USA
                                             #4 Marigold Dr.                                                                            Covington                                                            LA        70433
Avis J. Bourg, Jr.
                                             c/o Martin S. Bohman                     133 West 113th Street                             Cut Off                                                              LA        70345
Beverly Eymard,      LLC
                                             Kevin M. Delcambre                       200 Cummings Rd.                                    Broussard                                                          LA        70518
Blue Tide Communications, lnc.
                                                                                                                                           Broussa rd                                                        LA        70518
Blue Tide Communications, lnc.               117 Nolan Rd.
                                             400 Convention St., Suite 1060                                                                Baton Rouge                                                       LA        70802
Bluehenge Capital Secured Debt SBIC,    LP
                                                                                                                                            Broussard                                                        LA        70s18
Bluetide Communications                      117 Nolan Rd.
                                             P.O. Drawer 190                                                                                Houma                                                            LA        70361
Bluewater Rubber & Gasket
                                                                                                                                            Houma                                                            LA        70360
Bluewater Rubber & Gasket                    1131 Barrow St.
                                                                                                                                           Abbeville                                                         LA        70510
Broussard Brothers, lnc.                     5014 South Main St.
                                                                                                                                           Cut Off                                                           LA        70345
Callais Office Supply                        14402 West Main
                                                                                                                                             Chicago                                                         IL        60693
Canon Solutions America                      15004 Collection Center Dr.
                                             2l-20 West End Ave.                                                                             Nashville                                                       TN        37203
Caterpillar Financial Services
                                                                                                                                              Morgan City                                                    LA        70380
CB Electrical SuPPlies                       221 Railroad Ave.
                                             Baker Donelson                           201 St. Charles Ave., Suite 3600                        New Orleans                                                    LA        70770
Christopher Matthew Hannan
                                             13554 Hwy. 3235                                                                                   Larose                                                        LA        70373
Complete Occupational Health
                                                                                                                                               Morgan City                                                   LA        70380
Cummins Mid-South, LLC                       7388 Highway 182
                                                                                                                                               Houston                                                       TX        77058




                                                                                                                                                                     21
Custom Abrasives, LLC                        2525 Bay Area Blvd., Suite 290
                                                                                      PO Box 141-98 Ben Franklin Statio                       Washington                                                     DC        20530
David Kearns                                 Tax Division USDOJ
                                             P.O. Box 8014                                                                                      Houma                                                        LA        70361
Diesel Source lnc.
                                                                                                                                               Gray                                                          LA        70359
Diesel Source, lnc.                          158 Technology Lane
                                             lnternal Revenue Service                 Post Office Box2IL26                                     Philadelphia                                                  PA   t9174-0326
District Counsel
                                                                                                                                               Abbeville                                                     LA   70511-0386
 EBR   Services, LLC                         P.O. Box 386
                                                                                                                                                  Broussa rd                                                 LA         70518
 EBR Services, LLC                           102 Roto Park Dr.
                                                                                                                                                  Houma                                                      LA        70360
 Encore Food Services                        231 Capital Blvd.
                                              P.O. Box 41-93                                                                                      Houma                                                      LA        70367
 Encore Food Services
                                                                                      231 Capital Blvd.                                           Houma                                                      LA        70360
 Encore Food Services, LLC                    Myron Lopez
                                                                                                                                                   Houma                                                     LA        70361.
 Encore Food Services, LLC                    P.O. Box 4193
                                              1730 Coteau Rd.                                                                                      Houma                                                     LA        70364
 ES&H Consulting & Training GrouP
                                                                                                                                                    Larose                                                   LA        70373
 Expert Technology                            11878 Hwy.308
                                              P.O. Box 5091                                                                                         Houma                                                    LA   70361-s091
 Express Supply & Steel
                                            932 Highway 182                                                                Raceland                                                                  LA        70394
Express Supply & Steel
                                            P.O. Box 1256                                                                  Raceland                                                                  LA        70394
Extreme Welding Service, LLC
                                            c/o Adrien Danos                   18367 Hwy.3235                             Galliano                                                                   LA        70354
Extreme Welding Services, LLC
                                            P.O. Box 978                                                                  Winona                                                                     MN   55987-0978
Fastenal Company
                                            2001Theurer Blvd.                                                              Winona                                                                    MN         55987
Fastenal Company
                                            P.O. Box 9055                                                                   Houma                                                                    LA        7036L
Fleet Supply
                                                                                                                             Houma                                                                   LA        70360




                                                                                                                  Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19 17:14:07 Main Document Page
Fleet Supply                                171-4 Barrow 5t.
                                            2802 Flintrock Trace # 8104                                                      Lakeway                                                                 TX        78738
Forefront Emergency Management,        LP
                                            P.O. Box 2316                                                                     Morgan City                                                            LA        70381
Gator Rigg¡ng, lnspection, Testing
                                                                                                                              Morgan City                                                            LA        70380
Gator Rigging, lnspection, Testing &   Su   9607 Highway 182E
                                            lnternal Revenue Service           600 S. Maestri Place, Ste 947                   New Orleans                                                           LA        70]-30
General Counsel's Office
                                            Attn: Charles     R. Glenn         11200 West 19lst Street                       Spring Hill                                                             KS        66083
Glencor, lnc.
                                            Tony Staines - Staines & EPPling   3500 N. Causeway Blvd., Ste. 820                 Metairie                                                             LA        70002
Glencor, lnc.
                                            Attn: Charles R. Glenn             11200 West 1-91st Street                       Spring Hill                                                            KS        66083
Glencor, lnc.
                                            Attn: Mark Ditsious                310 Laser Lane                                 Lafayette                                                              LA        70507
Global Data Systems, lnc.
                                            P.O. Box 1698                                                                       Mandeville                                                           LA        70470
Go Marine Services
                                                                                                                                Madisonville                                                         LA         70447
Go Marine Services                          l0l Ashland Way
                                                                               205 North Bayou Rd.                              Golden Meadow                                                        LA         70357
Golden Meadow True Value                    P.O. Box 667
                                            P.O. Box 1-843                                                                      Covington                                                            LA   70434-t843
Gulf Crane Services, lnc.
                                                                               73413 Bollfield Rd                                Covington                                                           LA        70435
Gulf Crane Services, lnc.                   c/o Charles Bollinger
                                                                                                                                 Centerville                                                         LA        70522
Hanagriff's Machine ShoP                    P.O. Box 9
                                            8728Hwy.782                                                                          Centerville                                                         LA        70522
Hanagriff's Machine ShoP
                                            c/o Crescent City CorP.            701 Poydras St., Suite 3600                         New Orleans                                                       LA        70L39
Hose Speciality & SuPPIY
                                            P.O. Box 841388                                                                         Dallas                                                           TX   75284-1388
Hose Specialty & SuPPIY
                                            Box 7346                                                                                Philadelphia                                                     PA   Lgrjt-7346
lnternal Revenue Service*
                                                                               400 Convention St., Suite 700                        Baton Rouge                                                      LA         70802




                                                                                                                                                             21
J. Eric Lockridge                           Kean Miller LLP
                                            Kean Miller, LLP                   400 Convention St., Suite 700                         Baton Rouge                                                     LA         70802
James R. Chastain, Jr.
                                            Baker Donelson                     201 St. Charles Ave., Suite 3600                      New Orleans                                                     LA         70L70
Kristen Lewis Hayes
                                            P.O. Box 5608                                                                         Thibodaux                                                          LA   70302-5608
Lafourche Parish Sheriff's Office
                                            P.O. Box 364                                                                             Larose                                                          LA         70373
Larose Upholstery
                                                                               P.O. Box 167                                        Tylertown                                                         MS         39667
Lexie Water Association, lnc.               302 Hwy. 27 South
                                            121 Safari Heights                                                                       Cut off                                                         LA         70345
LouisJ. Eymard, ll
                                                                                                                                      Reserve                                                        LA         70084
Louisiana MachinerY                         3799 West Airline Hwy.
                                            1210 lmport Dr.                                                                            New lberia                                                    LA         70560
M&A Safety Services
                                            P.O. Box 9218                                                                              New lberia                                                    LA         70s62
Marine lndustrial Fabricators
                                                                               4912 Marina Rd.                                         New lberia                                                    LA         70560
 Marine lndustrial Fabricators               Port of lberia
                                                                               P.O. Box 538                                            Cut Off                                                       LA         70345
 Maritime Safety Solutions, LLC              14626 West Main St.
                                                                               701 Poydras St., Suite 4125                             New Orleans                                                   LA         70139
 Marsh USA, lnc.                             One Shell Square
                                             P.O. Box 846015                                                                             Dallas                                                      TX   75284-6015
 Marsh, lnc.
                                         P.O. Box 930                                                                        Amelia                                                                    LA       70340
MC Electric
                                         326 Degravelle Rd.                                                                  Amelia                                                                    LA       70340
MC Electric
                                         P.O. Box 417                            16230 Hwy.3235                               Cut Off                                                                  LA       70345
Melaco Sisters
                                         King & Jurgens, LLC                     201 St. Charles Ave., 45th Floor               New Orleans                                                            LA       70L70
Michael L. Vincenzo
                                         16379 Hwy 3235                                                                        Cut Off                                                                 LA       70345
Michael M. Eymard
                                         Belle Chasse Main Office                8435 Hwy.23                                   Belle Chasse                                                            LA       70037
Mississippi River Bank
                                         5837 Hwy.311                                                                            Houma                                                                 LA       70360




                                                                                                                    Case 19-13253 Doc 28 Filed 12/05/19 Entered 12/05/19 17:14:07 Main Document Page
Motion lndustries
                                         1261 Roberts St.                                                                        Houma                                                                 LA       70364
Norma M. Lirette
                                         6950 Alma St.                                                                            Houma                                                                LA       70364
Nuts & Bolts, lnc.
                                                                                                                                  New Orleans                                                          LA       70130
Office of the   US   Attorney            501 Magazine St; Ste 210
                                         Texaco Ctr, Ste 2110                    400 Poydras Street                               New Orleans                                                          LA        70L30
Office of the   US   Trustee
                                         P.O. Box 842065                                                                          Boston                                                               MA   02284-2065
Parkway Services GrouP
                                                                                 200 North Cate St.                                Hammond                                                             LA        70404
Patrick K. Reso                          Seale & Ross, P.L.C.
                                         P.O. Box 1599                                                                            Gray                                                                 LA        70359
Paul's Agency
                                                                                                                                    Broussa rd                                                         LA        70518
Provisions Energy & Marine Support       P.O. Box 516
                                                                                 204 Jared Dr                                       Broussard                                                          LA        70s18
Provisions Energy & Marine Support       CTD Legacy, LLC
                                         L8297 La Hwy.3235                                                                         Galliano                                                            LA        70354
Quality Paint & SuPPIY
                                         571West 159th Street                                                                       Galliano                                                           LA        70354
Raimy D. Eymard
                                         Seale & Ross, P.L.C.                    200 North   Cate St.                               Hammond                                                            LA        70404
Richard L. Traina
                                         P.O. Box 4035                                                                                Houma                                                            LA        70361
Richard's Restaurant SuPPIY
                                                                                                                                       Houma                                                           LA        70360
Richard's Restaurant SuPPIY              235 S. Hollywood Rd.
                                                                                                                                       Houma                                                           LA        70360
Safety & Training Consultants,   LLC     219 Venture Blvd.
                                                                                                                                      Gray                                                             LA        70359
Safezone Safety SYstems, LLC             P.O. Box 1923
                                                                                                                                      Carencro                                                         LA        70520
Schambo Manufacturing, LLC               100 Lemedicin Rd.
                                                                                                                                      Houma                                                            LA        70360
Scurlock Electric, LLC                   1903 Grand Caillou Rd.
                                                                                                                                        Houma                                                          LA        70363




                                                                                                                                                               21
Sea Ropes Complaint Rigging & Testing    189 Thompson Rd.
                                                                                                                                        Houma                                                          LA        70363
Sea Safety & Survival, lnc.              128 Thompson Rd.
                                                                                 909 Poydras St., Suite 3600                            New Orleans                                                    LA        70]-]-2
Sean T. McLaughlin                       McClain & Schonekas
                                                                                 P.O. Drawer                                            Morgan City                                                    LA        70381
Sewart Supply, lnc.                      1617 Hwy.90 E                                          L

                                                                                 5190 Canal Blvd., Suite 103                             New Orleans                                                   LA        70124
Sonia Poincon                            Bobby J. Delise & Jeannette M. Delise
                                                                                 528 W. 2l-st Ave.                                      Covington                                                      LA        70433
Sonia Poincon                            Alton J. Hall, Jr.
                                                                                                                                        Houma                                                          LA        70363
Southern   Crane & Hydraulics            2L5 Bridge Rd.
                                                                                                                                           Bourg                                                       LA        70343
Southern   Crane & Hydraulics, LLC       P.O. Box 39
                                                                                                                                           Larose                                                      LA        70373
Southern   Home Furnishing               P.O. Box 1299
                                                                                                                                          Cut Off                                                      LA        70345
Southern   Home Furnishings              14814 West Main St.
                                                                                                                                          Lafayette                                                    LA        70505
Synergy Resources, LLC                   P.O. Box 53508
                                                                                                                                            Broussard                                                  LA        705L8
Synergy Resources, LLC                   5900 U.S. HighwaY 90 East
                                                                                                                                            New lberia                                                 LA        70560
Taylor Tool & Supply                      1011 Granada Dr.
                                                                                  1200 New Jersey Avenue S.E                               Washington                                                  DC        20s90
The US Maritime Administration (MARAD)    U.S. Department of Transportation
                                                                        New Orleans                                                                  LA   70130
U.S.   Attorney for the   EDLA   650 Poydras Street, Suite 1600
                                 13386 West Main St.                     Larose                                                                      LA   70373
United CommunitY Bank
                                 P.O. Box 1894                           Houma                                                                       LA   7036t
Unlimited Control & SuPPIY
                                 1-043 West Tunnel Blvd.                  Houma                                                                      LA   70360
Unlimited Control & SuPPIY
                                                                          Morgan City                                                                LA   70380
Vida Paint & Supply              811 Hilda St.
                                                                          Morgan City                                                                LA   70381
Vida Paint & Supply lnc.         P.O. Box 2706




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